336 F.3d 78
    In re: Leonard L. RIENDEAU, Debtor,Leonard L. Riendeau, Debtor-Appellant,v.John R. Canney (Chapter 7 Trustee), Trustee-Appellee.
    Docket No. 02-5066.
    United States Court of Appeals, Second Circuit.
    Submitted: June 27, 2003.
    Decided: July 9, 2003.
    
      Appeal from the judgment of the United States District Court for the District of Vermont (William K. Sessions, III, Chief Judge) affirming the decision of the United States Bankruptcy Court for the District of Vermont (Colleen A. Brown, Judge). Because we agree that debtor may not exempt the claimed pre-petition income from the bankruptcy estate under Vt. Stat. Ann. tit. 12, § 3170(b), we affirm.
      Kathleen Walls, Middlebury, VT, for Debtor-Appellant.
      John R. Canney, III, Rutland, VT, for Trustee-Appellee.
      Before: STRAUB and POOLER, Circuit Judges, and HURD, Judge.*
      PER CURIAM.
    
    
      1
      Debtor-Appellant Leonard L. Riendeau ("Riendeau") is a Vermont dairy farmer who has filed for Chapter 7 bankruptcy. After he filed for bankruptcy protection, Riendeau received a check in payment for prior milk production as well as a federal milk-subsidy check. Riendeau claims that this post-petition income is exempt from the bankruptcy estate under 12 Vt. Stat. Ann. tit. 12, § 3170(b). The United States District Court for the District of Vermont (William K. Sessions, III, Chief Judge) affirmed the order of the United States Bankruptcy Court for the District of Vermont (Colleen A. Brown, Judge) sustaining the Trustee's objection to the claimed exemption. Both the Bankruptcy Court and the District Court concluded that § 3170(b) applies only when trustee process has been initiated under Vermont law and may not be invoked as an independent state exemption under 11 U.S.C. § 522(b)(2). We affirm for the reasons stated in Chief Judge Session's opinion and order. See In re Riendeau, 293 B.R. 832, 2002 WL 32113751 (D.Vt.2002).
    
    
      
        Notes:
      
      
        *
         The Honorable David N. Hurd, United States District Judge for the Northern District of New York, sitting by designation
      
    
    